






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN





NO. 03-09-00133-CR





Joseph Culverhouse, Appellant


v.


State of Texas, Appellee





FROM THE COUNTY COURT AT LAW NO. 4 OF TRAVIS COUNTY

NO. D-1-DC-08-205127, HONORABLE MIKE DENTON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	On October 17, 2008, appellant Joseph Culverhouse signed a "plea of guilty,
admonishments, voluntary statements, waivers, stipulation &amp; judicial confession," pleading guilty
to assaulting a family member.  On November 25, 2008, the trial court signed a judgment of
conviction sentencing appellant to five years' imprisonment pursuant to a plea agreement.  Appellant
filed his notice of appeal on February 20, 2009.  The trial court has certified that appellant has no
right of appeal from this plea-bargain case, and it appears that the notice of appeal was filed too late
to invoke our jurisdiction.  See Tex. R. App. P. 26.2(a)(1) (notice of appeal generally must be filed
within thirty days of sentencing or appealable order).  Thus, the appeal is dismissed for want of
jurisdiction.  See Tex. R. App. P. 25.2(d).

					__________________________________________

					David Puryear, Justice

Before Chief Justice Jones, Justices Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   May 1, 2009

Do Not Publish


